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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

GENESIS CORPORATE SOLUTIONS, LLC
d/b/a YASH TECHNOLOGIES,

.             Plaintiff,
                                                   Civil Action No.:
       v.

SAP AMERICA, INC. and
BERNIS SHELTON,

              Defendants.


                                  NOTICE OF REMOVAL

TO:    The United States District Court
       For the District of Massachusetts

       PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446

Defendants SAP America, Inc. (“SAP”) and Bernis Shelton (“Shelton”) (collectively,

“Defendants”), by their undersigned counsel, Duane Morris LLP, hereby remove to this Court

the above-captioned case, currently pending in the Superior Court Department of the

Massachusetts Trial Court, Business Litigation Session, Suffolk County at No. 15-1734. In

support of this removal, SAP and Shelton state as follows:

I.     Procedural History

       1.     On or about June 10, 2015, the plaintiff, Genesis Corporate Solutions, LLC, d/b/a

YASH Technologies (“Genesis”) filed a Complaint against SAP and Shelton in the Superior

Court Department of the Massachusetts Trial Court, Business Litigation Session, Suffolk County

at No. 15-1734.

       2.      The plaintiff’s Complaint asserts seven counts: (I) Breach of Contract; (II)

Breach of the Implied Covenant of Good Faith and Fair Dealing; (III) Violation of Massachusetts
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General Laws Ch. 93A, § 11; (IV) Quantum Merit/Unjust Enrichment; (V) Promissory

Estoppel/Detrimental Reliance; (VI) Breach of Fiduciary Duty; and (VII) Tortious Interference

with Advantageous Business Relations.

          3.     SAP provides software solutions for businesses. The Complaint alleges that

Genesis was an “SAP Partner pursuant to an SAP Partner Edge Channel Reseller Policy

agreement” (the “Agreement”).

          4.     The Complaint alleges that SAP and Shelton, an SAP employee, interfered with

SAP’s business relationship with an end-user of certain SAP software by reallocating that

business opportunity to SAP and another SAP authorized reseller. The Complaint alleges that in

so doing, SAP violated the Agreement, and that SAP and Shelton are liable to Genesis under the

legal theories stated above.

          5.     On June 22, 2015, Genesis served SAP with a copy of the the Complaint, and a

Civil Action Cover Sheet. Copies of those documents, and confirmation of receipt of service

from SAP’s agent for service, are attached hereto as Exhibit A. To date, Shelton has not been

served.

II.       Basis for Jurisdiction

          6.     This Court has original jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a)(1) because this suit is between citizens of different states and the matter in controversy

exceeds the sum or value of $75,000.

          A.     The Parties Are Completely Diverse

          7.     SAP is a Delaware Corporation whose principal place of business is in Newtown

Square, Pennsylvania. SAP is therefore a citizen of Delaware and Pennsylvania for diversity

purposes. See 28 U.S.C. § 1332(c)(1).




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       8.      Plaintiff’s Complaint alleges that it is an Illinois corporation with its principal

place of business in Woburn, Massachusetts. See Complaint ¶ 1. However, Genesis’s corporate

filings in both Illinois and Massachusetts state that it is a limited liability company (“LLC”) with

a principal place of business is located in East Moline, Illinois. See Massachusetts Business

Entity Summary, attached hereto as Exhibit B; Illinois LLC File Detail Report, attached hereto

as Exhibit C. Further, Genesis, through its counsel, has acknowledged that it is a single-member

LLC and that its sole member is an individual who is not a citizen of either Delaware or

Pennsylvania. As such, for diversity purposes, Plaintiff is not a citizen of either Pennsylvania or

Delaware.

       9.      Shelton is an individual who resides in Commonwealth of Pennsylvania. Shelton

is therefore a citizen of Pennsylvania for diversity purposes.

       10.     There is complete diversity between the parties to this action because Defendants

are citizens of Pennsylvania and SAP also is a citizen of Delaware, and Plaintiff is not a citizen

of either Pennsylvania or Delaware. See 28 U.S.C. § 1332(a)(1).

       B.      The Matter in Controversy Exceeds the sum or value of $75,000

       11.     The Complaint seeks damages and restitution in excess of $10 million. See

Complaint ¶¶ 22, 52. The plaintiff’s civil action cover sheet also states that Genesis incurred in

excess of $10 million in damages. See Civil Action Cover Sheet; Williams v. Litton Loan

Servicing, No. CA 10-11866-MLW, 2011 WL 3585528, at *6 (D. Mass. Aug. 15, 2011) (citing

Salvail v. Relocation Advisors, Inc., C.A. No. 11–10500–RGS, 2011 WL 1883861, at *1 n. 1 (D.

Mass. May 17, 2011) (“civil action cover sheets may be considered in determining the amount in

controversy [under Section 1332]”).

III.   The Procedural Prerequisites For Removal Have Been Satisfied




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       12.     Pursuant to 28 U.S.C. § 1446(b), this Notice is filed within thirty (30) days of

receipt of the initial pleading setting forth the claim for relief upon which this action is based.

       13.     Pursuant to 28 U.S.C. § 1441(a), venue is proper in the United States District

Court for the District of Massachusetts, as the Complaint in this action was filed in the Superior

Court for the Commonwealth of Massachusetts, Suffolk County.

       14.     Defendants are filing a copy of this Notice with the Superior Court for the

Commonwealth of Massachusetts, Suffolk County, and serving it upon counsel for Genesis, as

required by 28 U.S.C. § 1446(d).

       15.     This action is one which may be removed to this Court by SAP and Shelton

pursuant to 28 U.S.C. § 1441.

       16.     In removing this action, SAP and Shelton do not intend to waive any rights or

defenses to which either is otherwise entitled under the Federal Rules of Civil Procedure or any

other law or rule of court.




Dated: June 26, 2015                           Respectfully submitted,

                                               SAP AMERICA, INC. AND
                                               BERNIS SHELTON
                                               By their attorneys,


                                               /s/ Steven M. Cowley
                                               Steven M. Cowley (BBO # 554534)
                                               DUANE MORRIS LLP
                                               100 High Street
                                               Suite 2400
                                               Boston, MA 02110
                                               Tel.: (857) 488-4200
                                               Fax: (857) 488-4201
                                               smcowley@duanemorris.com



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                                  CERTIFICATE OF SERVICE

          I hereby certify that this document, filed through the ECF system, will be sent

electronically on June 26, 2015 to the registered participants as identified on the Notice of

Electronic Filing (NEF) as well as by mail on plaintiff’s counsel.

                                                       /s/ Steven M. Cowley
                                                       Steven M. Cowley



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Corporations Division
   Business Entity Summary
   ID Number: 200181763                                          Request certificate   New search

   Summary for: GENESIS CORPORATE SOLUTIONS, LLC

   The exact name of the Foreign Limited Liability Company (LLC):            GENESIS CORPORATE
   SOLUTIONS, LLC
   The name was changed from: YASH TECHNOLOGIES CORPORATE SOLUTIONS, LLC on 09-
   30-2009
   The name was changed from: GENESIS CORPORATE SOLUTIONS, LLC on 09-28-2007
   Entity type:   Foreign Limited Liability Company (LLC)
   Identification Number: 200181763                Old ID Number: 000852910
   Date of Registration in Massachusetts:          Date of Revival:      10-07-2009
   10-28-2003
   Date of Dissolution:    04-30-2009              Last date certain:
   Organized under the laws of: State: IL Country: USA on: 08-27-2003
   The location of the Principal Office:

   Address: 605 17TH ST.
   City or town, State, Zip code,    E. MOLINE,    IL    61244   USA
   Country:
   The location of the Massachusetts office, if any:

   Address: 150 PRESIDENTIAL WAY SUITE 230
   City or town, State, Zip code,    WOBURN,      MA     01801   USA
   Country:
   The name and address of the Resident Agent:

   Name:     CORPORATION SERVICE COMPANY
   Address: 84 STATE STREET
   City or town, State, Zip code,    BOSTON,      MA    02109    USA
   Country:
   The name and business address of each Manager:

    Title              Individual name                 Address
    MANAGER            JACINTO ARAUZ                150 PRESIDENTIAL WAY, STE 230 WOBURN,
                                                    MA 01801 USA




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   The name and business address of the person(s) authorized to execute,
   acknowledge, deliver, and record any recordable instrument purporting to affect an
   interest in real property:

    Title             Individual name               Address
    REAL PROPERTY     MANOJ K. BAHETI               605 17TH ST. E. MOLINE, IL 61244 USA

                                     Confidential          Merger
                     Consent       Data                 Allowed           Manufacturing

   View filings for this business entity:

    ALL FILINGS
    Annual Report                                                                          
    Annual Report - Professional
    Application For Registration
    Certificate of Amendment                                                               
    Certificate of Cancellation
                                            View filings

    Comments or notes associated with this business entity:

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       LLC FILE DETAIL REPORT

        Entity Name            GENESIS CORPORATE              File Number                     00990841
                               SOLUTIONS, LLC

        Status                 ACTIVE                         On                              07/10/2014

        Entity Type            LLC                            Type of LLC                     Domestic

        File Date              08/27/2003                     Jurisdiction                    IL

        Agent Name             JAMES S ZMUDA                  Agent Change Date               08/27/2003

        Agent Street Address   506-15TH ST STE 600            Principal Office                605-17TH AVE
                                                                                              EAST MOLINE, IL 61244

        Agent City             MOLINE                         Management Type                 MGR    View

        Agent Zip              61265                          Duration                        08/27/2053

       Annual Report Filing    07/10/2014                     For Year                        2014
       Date

        Assumed Name           ACTIVE - YASH TECHNOLOGIES CORPORATE SOLUTIONS, LLC

        Old LLC Name           07/30/2008 - YASH TECHNOLOGIES CORPORATE SOLUTIONS, LLC
                               07/02/2007 - GENESIS CORPORATE SOLUTIONS, LLC

        Series Name            NOT AUTHORIZED TO ESTABLISH SERIES

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                                                                                     (One Certificate per Transaction)


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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Genesis Corporate Solutions, LLC d/b/a/ YASH Technologies                                                 SAP America, Inc. and Bernis Shelton


    (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         Rock Island Co., IL                         &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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    (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Gregory J. Aceto, Aceto, Bonner & Prager PC                                                               Steven M. Cowley, Duane Morris LLP
One Liberty Square Ste. 410; Boston MA 02109                                                              100 High Street, Suite 2400; Boston, MA 02110-1724
617-209-2998                                                                                              857-488-4261

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                           and One Box for Defendant)
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       ([FOXGHV9HWHUDQV          u 0DULQH3URGXFW                   /LDELOLW\                         LABOR                        SOCIAL SECURITY              u   &DEOH6DW79
u   5HFRYHU\RI2YHUSD\PHQW             /LDELOLW\               PERSONAL PROPERTY          u   )DLU/DERU6WDQGDUGV           u   +,$II             u   6HFXULWLHV&RPPRGLWLHV
       RI9HWHUDQ¶V%HQHILWV        u 0RWRU9HKLFOH            u 2WKHU)UDXG                    $FW                           u   %ODFN/XQJ                ([FKDQJH
u   6WRFNKROGHUV¶6XLWV          u 0RWRU9HKLFOH            u 7UXWKLQ/HQGLQJ        u   /DERU0DQDJHPHQW               u   ',:&',::J       u   2WKHU6WDWXWRU\$FWLRQV
u   2WKHU&RQWUDFW                      3URGXFW/LDELOLW\      u 2WKHU3HUVRQDO                 5HODWLRQV                     u   66,'7LWOH;9,           u   $JULFXOWXUDO$FWV
u   &RQWUDFW3URGXFW/LDELOLW\   u 2WKHU3HUVRQDO                   3URSHUW\'DPDJH      u   5DLOZD\/DERU$FW              u   56,J             u   (QYLURQPHQWDO0DWWHUV
u   )UDQFKLVH                           ,QMXU\                 u 3URSHUW\'DPDJH         u   )DPLO\DQG0HGLFDO                                              u   )UHHGRPRI,QIRUPDWLRQ
                                     u 3HUVRQDO,QMXU\                3URGXFW/LDELOLW\           /HDYH$FW                                                             $FW
                                            0HGLFDO0DOSUDFWLFH                                  u   2WKHU/DERU/LWLJDWLRQ                                          u   $UELWUDWLRQ
        REAL PROPERTY                      CIVIL RIGHTS              PRISONER PETITIONS           u   (PSOR\HH5HWLUHPHQW              FEDERAL TAX SUITS              u   $GPLQLVWUDWLYH3URFHGXUH
u   /DQG&RQGHPQDWLRQ            u 2WKHU&LYLO5LJKWV         Habeas Corpus:                     ,QFRPH6HFXULW\$FW            u 7D[HV863ODLQWLII             $FW5HYLHZRU$SSHDORI
u   )RUHFORVXUH                  u 9RWLQJ                   u $OLHQ'HWDLQHH                                                      RU'HIHQGDQW                    $JHQF\'HFLVLRQ
u   5HQW/HDVH	(MHFWPHQW       u (PSOR\PHQW               u 0RWLRQVWR9DFDWH                                              u ,56²7KLUG3DUW\            u   &RQVWLWXWLRQDOLW\RI
u   7RUWVWR/DQG                u +RXVLQJ                      6HQWHQFH                                                            86&                      6WDWH6WDWXWHV
u   7RUW3URGXFW/LDELOLW\              $FFRPPRGDWLRQV         u *HQHUDO
u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV   u 'HDWK3HQDOW\                    IMMIGRATION
                                            (PSOR\PHQW               Other:                      u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
                                     u $PHUZ'LVDELOLWLHV   u 0DQGDPXV	2WKHU        u 2WKHU,PPLJUDWLRQ
                                            2WKHU                  u &LYLO5LJKWV              $FWLRQV
                                     u (GXFDWLRQ                u 3ULVRQ&RQGLWLRQ
                                                                    u &LYLO'HWDLQHH
                                                                         &RQGLWLRQVRI
                                                                         &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHGIURP                u        5HPDQGHGIURP            u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH&RXUW                            $SSHOODWH&RXUW              5HRSHQHG                 $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                             (specify)
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                         28 U.S.C. 1332
VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
                                         Removal of state court action asserting breach of contract, tortious interference, and related claims
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                                                                  JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                             '2&.(7180%(5
'$7(                                                                   6,*1$785(2)$77251(<2)5(&25'
06/26/2015                                                            /s/ Steven M. Cowley
FOR OFFICE USE ONLY

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               Case
               Case2:15-cv-06530-TJS
                    1:15-cv-12846-WGYDocument
                                      Document1-1
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                                                         12/09/15
                                                           06/26/15Page
                                                                    Page351of
                                                                            of37
                                                                               1
                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Genesis Corporate Solutions, LLC d/b/a Yash Technologies v.
    SAP America, Inc.


2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
    rule 40.1(a)(1)).

              I.        410, 441, 470, 535, 830*, 891, 893, 895, R.23, REGARDLESS OF NATURE OF SUIT.

              II.       110, 130, 140, 160, 190, 196, 230, 240, 290,320,362, 370, 371, 380, 430, 440, 442, 443, 445, 446, 448, 710, 720,
                        740, 790, 820*, 840*, 850, 870, 871.

              III.      120, 150, 151, 152, 153, 195, 210, 220, 245, 310, 315, 330, 340, 345, 350, 355, 360, 365, 367, 368, 375, 385, 400,
                        422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 530, 540, 550, 555, 625, 690, 751, 791, 861-865, 890, 896, 899,
                        950.

                        *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.



4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                    YES    9            NO     9
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?       (See 28 USC
   §2403)

                                                                                    YES     9           NO     9
    If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                    YES     9           NO     9
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                    YES     9           NO     9
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                    YES     9           NO     9
              A.        If yes, in which division do all of the non-governmental parties reside?

                        Eastern Division     9                  Central Division    9                   Western Division     9
              B.        If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                        residing in Massachusetts reside?


                        Eastern Division     9                  Central Division    9                   Western Division     9
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                    YES     9           NO     9
(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Steven M. Cowley
ADDRESS Duane Morris, LLP, 100 High St., Ste. 2400, Boston, MA 02110
TELEPHONE NO. 857-488-4200
                                                                                                                (CategoryForm9-2014.wpd )
       Case
       Case2:15-cv-06530-TJS
            1:15-cv-12846-WGYDocument
                              Document1-1
                                        1-6Filed
                                             Filed
                                                 12/09/15
                                                   06/26/15Page
                                                            Page361of
                                                                    of37
                                                                       2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

GENESIS CORPORATE SOLUTIONS, LLC
d/b/a YASH TECHNOLOGIES,

.              Plaintiff,
                                                    Civil Action No.:
       v.

SAP AMERICA, INC. and
BERNIS SHELTON,

               Defendants.


            CORPORATE DISCLOSURE STATEMENT OF SAP AMERICA, INC.

       Pursuant to Rule 7.3 of the Local Rules of the United States District Court for the District

of Massachusetts, Defendant SAP America, Inc. states as follows:


       Defendant SAP America, Inc. is a subsidiary of parent SAP SE. No other publicly traded

corporation owns 10% or more of SAP America, Inc.’s stock.



Dated: June 26, 2015                         Respectfully submitted,

                                             SAP AMERICA, INC. AND
                                             BERNIS SHELTON
                                             By their attorneys,


                                             /s/ Steven M. Cowley
                                             Steven M. Cowley (BBO # 554534)
                                             DUANE MORRIS LLP
                                             100 High Street
                                             Suite 2400
                                             Boston, MA 02110
                                             Tel.: (857) 488-4200
                                             Fax: (857) 488-4201
                                             smcowley@duanemorris.com
           Case
           Case2:15-cv-06530-TJS
                1:15-cv-12846-WGYDocument
                                  Document1-1
                                            1-6Filed
                                                 Filed
                                                     12/09/15
                                                       06/26/15Page
                                                                Page372of
                                                                        of37
                                                                           2



                                  CERTIFICATE OF SERVICE

          I hereby certify that this document, filed through the ECF system, will be sent

electronically on June 26, 2015 to the registered participants as identified on the Notice of

Electronic Filing (NEF) as well as by mail on plaintiff’s counsel.

                                                       /s/ Steven M. Cowley
                                                       Steven M. Cowley



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